Case 2:10-bk-11241-VZ Doc1 Filed 01/12/10 Entered 01/13/10 09:21:42 Desc

Main Document

Form B1 (Official Form 1) - (Rev. 1/08}

UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

Page 1 of 16

2008 USBC, Central District of California

Name of Debtor (if individual, enter Last, First, Middle):
BYUN, JONG, UK

All Other Names used by the Debtor in the last 8 years
(include married, maiden, ano trade names):

Name of Joint Debtor (Spou
BYUN, BOK, SCON

AJl Other Names used by the Joint Debtor in the last 8 years
{include married, maiden, and trade names}:

1067
Street Address of Debtor (No. & Street, City, and State):

30 COVERED WAGON LANE
ZIPCODE 99274

| (if more than one, state all):

Last four digits of Soc. Sec. or Individual-Taxpayer 1.D. (ITIN} No/Complete EIN
(if more than one, state all): 9903

Street Address of Joint Debtor (No. & Street, City, and State):
30 COVERED WAGON LANE

ROLLING HILLS ESTATES, CA ve
ZIP CODE 90274

ROLLING HILLS ESTATES, CA
County of Residence or of the Principal Placa of Business:

po,
LOS ANGELES COUNTY

County of Residence or of the Principal Place of Business:

LOS ANGELES COUNTY
Mailing Address of Joint Debtor (if different from streat address):

ZIP CODE | ZIP CODE
: Location of Principal Assets of Business Debtor (if different from street address above):
i —
' | ZIP CODE
Type of Debtor (Farm of Organization) Nature of Business Chapter of Bankruptcy Code Under Which
i (Check one box.) (Check one box.) the Petition is Filed
{(Chack one box)
e Individual (includes Jaint Debtors} QO Health Care Business
: See Exhibit D an page 2 ofthis fm | O Single Asset Real Estate as defined in 11 | QO) Chapter7 a Chapter11 0 Chapter 15 Petition for Recognition
Q Corporation (includes LLC and LLP) US.C, § 101 (51B) QO Chapter 9 GO Chapter 12 of a Foreign Main Proceeding
QO Partnership a saat O Chapte 13 O Chapter 15 Petition for Recognition
O Other (if debtor is not one of the | O Stockbroker of a Foreign N in Proceed
: above entities, check this box and | O Commodity Broker __ . gn Nenman ma —_
state type of entity below) Q Clearing Bank Nature of Debts
@ Olher (Check one box)
Tax-Exempt Entity D Debts are pratt soneunes tabi ceived mH @ Debts are primarily business debts.
| ' 1 S.C, i i lu
| {Check one box, if applicable) primarily for a personal, family, or house-hold
OQ Gebtor is a tax-exempt organization under Purpose.”
Tite 26 of the United States Code (the
ee __|___Intemal Revenue Code.)
Filing Fee (Check one box) Chapter 11 Debtors: |
Check one box:
@ = Full Filing Fee attached Q Debtor is a small business debtor as defined in 14 U.S.C. § 101(51D). |
Debtor i it II i debtor fi in 11 U.S.C, § 101 (51D).
| Filing Fee to be paid in instalments (Applicable to individuals only). Must attach signed @ Debtors not a small business as defined in 11 U.S.C, § 101 (51D)
application for the court's consideration certifying that the debtor is unable ta payfee except | check if:
in installments. Rule 1006(b). See Official Form 34. Q Debtor's aggregate noncontingent Iquidated debts (excluding debts owed to insiders or
affiliates) are less than $2,190,000,
Q Filing Fee waiver requested (Applicable to chapter 7 individuals anty). Must attach
signed application for the court’s consideration. See Official Form 3B. Check all applicable boxes:
QQ Apian is being filed with this petition
Q Acceptances of the plan were solicited prepetition fram one or mare classes of creditors, in |
accordance with 11 U.S.C. § 1126(b)
Statistical’ Administrative Information : TH Is SP ACE FOR
6 Debtor estimates that funds will be available for distribution to unsecured creditors. G Y
u Debtor estimates that, afer any exempt property is excluded and administrative expenses paid, there will be no funds available for distribution
to unsecured creditors.
. ee - pile
Estimated Number of Creditors cre
: 4. 5 100 200- 4,000- = 6,001- 10,601 25,001- §0,001- OVER Oo.
49 99 199 990 5,000 10,000 26,000 $0,000 100,000 400,000. oS ae
e ag Qa Q Qo Q Q QO th OQ = os 2
eo 3547
_ ay
Estimated Assets Li ON TE ‘
J z=
~ $0 to $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 to $50,000,001 to $700,000,001 $00,000,001 More manent — at
$50,000 $100,000 $500,000 $4 milion $10 million $50 ryillion $100 million to $500 million to $1 billion 41 bilion l i = ug
QO Q oOo Qa Q a O oO I [3.,
—3 [yt
: an ~ af
| Estimated Liabilites uy Z 5:
oAm
$0 to $50,001 to $100,051 to $500,001 ta $7,000,001 to $10,000,001 $50,000,001 to $00,000,001 $500,000,001 More than i °
$50,000 $100,000 $500,000 $1 million $10 million to $50 rmition $100 million fo $500 millon == ta. $1 bition $1 billion |
Q O a O Q O Q Q Qo

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Form B1 (Official Form 1} (Rev. 1/08) _ _ 2008 USBC, Central District of California

_ !
"4 N f Debt i FORM 81, P: 2
Voluntary Petition ame of Debiens) BUN, JONG, UK and BYUN, BOK, SOON 308

(THis page must be @ completed & and filed in every case.)

Por Bankruptcy Case Filed Within: Last 8 Years: (if more than two, attach additional sheet)

- cosas , Case Number: Date Filed:

Where Filed:
' Location Case Number. Date Filed:
Where Filed:

Name of Debtor: CENTRAL METAL, INC. Case Number, 2:10 BK 10642 VZ Date Filed: 4/9/49

~ Distict: CENTRAL DISTRICT OF CALIFORNIA __ Relationship: CORPORATION | Judge: VINCENT ZURZOLO
: — Exhibit 4 - Oe Exhibit B
. (To be completed if debtor is an individual whose debts

(To be completed if debtor is required to file periodic reports (@.g., forms 10K are primarily consumer debts.}

‘and 100) with the Securities and Exchange Commission pursuant to Section
; 13 or 15(d) of the Securties Exchange Act of 1934 and is requesting relief |, the attomey for the petitioner named in the foregoing petition, declare that | have »
1 under chapter 11.) informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13 of title

11, United States Cade, and have explained the relief available under each such chapter.

I further certify that | have delivered to the debtor the notice required by 11 U.S.C. § 342(b).
QO Exhibit A is attached and made a part of this petition.

x

Signature of Attomey for Debtar(s} Date

Exhibit C Exhibit D

: (To be completed by every individual debtor, If a joint petition is filed, each spouse must

' Does the debtor own or have possession of any property that poses or is complete and attach a separate Exhibit D.}

alleged to pose a threat of imminent and identifiable harm to public health or

safety? @ =Exhibit D completed and signed by the debtor is attached and made a part of this
petition.

QO Yes, and Exhibit © is attached and made a part of this petition.

If this is a joint petition:

@ No
@ Exhibit D also completed and signed by the jeint debtor is attached and made a part of
this petition.

Information Regarding the Debtor - Venue
(Check any applicable box}

QO Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately preceding the date
of this petition or for a longer part of such 180 days than in any other District.

QO There is a bankruptcy case conceming debtor's affiliate, general partner, or partnership pending in this District.

| Q Debtor is a debter in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no principal
place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this District, or the interests of the
parties will be served in regard to the relief sought in this District.

Certification bya Debtor Who Resides a as a Tenant of Residential Property
| Check all applicable boxes.

QO) Landlord has a judgment against the debtor for possession of debtor's residence, (If box checked, complete the following.)

(Name of landlord that obtained judgment}

(Address of landlord}

QO Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire monetary
default that gave rise to the judgment for possession, after the judgment far possession was entered, and

QO Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the filing

|
|
of the petition.
|
|

QO Debtor certifies that he/she has served the Landlord with this certification (11 U.S.C. § 362(1}).

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Form B21 (Official Form 21) - (12/07) 2007 USBC, Central District of California

UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re (set forth here all names including married, maiden, and trade FOR COURT USE ONLY
names used by the debtor within /ast 8 years):

JONG UK BYUN RECEIVED

BOK SOON BYUN
JAN 12 2010

Debtor. glERa US BANKRUPTCY COURT
Address: Case No.: oY a
30 COVERED WAGON LANE
ROLLING HILLS ESTATES, CA 90274 Chapter: 11
Last four digits of Social Security Number(s):
4067 and 9903 STATEMENT OF SOCIAL-SECURITY

Complete Employer's Tax Identification Number(s) (if any}:

NUMBER(S) (OR OTHER INDIVIDUAL
TAXPAYER-IDENTIFICATION
NUMBER (ITIN))

1. Name of Debtor (enter Last, First, Middle): BYUN, JONG, UK
(Check the appropriate box and, if applicable, provide the required information.)

C Debtor has a Social Security Number anditis:s _6 1 _2-_6 0-_1 _0 6 7
(if more than one, state all.)
C) Debtor does not have a Social-Security Number but has an Individual Taxpayer-Identification Number {ITIN), and it is:
(if more than one, state ail.)
Cl Debtor does not have either a Social-Security Number or an Individual Taxpayer-Identification Number (iTIN).
2. Name of Joint Debtor (enter Last, First, Middle): BYUN, BOK, SOON

(Check the appropriate box and, if applicable, provide the required information. }

C]

C

Cl

| declare under penalty of perju

Joint Debtor has a Social Security Number and itis: _6 _0 _4 -_7. 0-9 9 QO 3.
(if more than one, state ail.)

Joint Debtor does not have a Social-Security Number but has an Individual Taxpayer-ldentification Number (ITIN) and it
is:
(if more than one, state ail.)

Joint Debtor does not have either a Socia-Security Number or an Individual Taxpayer-Identification Number (ITIN}.

‘oregoing is true and correct.

Linke tnd (Ce 1/14/10
spre of Debtor! wf Date
iS é
efe S$, Kye 114/10
Signature of Joint Debtor , Date

*Joint debtors must provide information for both spouses.

Penalty for making a false statement: Fine of up to $250,000 or up to 5 years imprisonment or both. 18 U.S.C. §§ 152 and 3571.
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Form B1 {Official Form 1) (Rev. 1/08)

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2008 USBC, Central District of California

Voluntary Petition

(This page must be completed and filed in every case)

Name of Debtor(s}:

FORM B11, Page 3
BYUN, JONG, UK and BYUN, BOK, SOON

Signature(s} of Debtor(s) (Individual/Joint)

I declare under penalty of perjury that the information provided in this petition is true and correct.
[If petitioner is an individual whose debts are primarily consumer debts and has chosen to file
under chapter 7] | am aware that | may proceed under chapter 7, 11, 12 or 13 oftitle 11, United
States Code, understand the relief available under each such chapter, and choose to proceed
under chapter 7. [If no attomey represents me and no bankruptcy petition preparer signs the
petition] | have obtained and read the notice required by 11 U.S.C. § 342(b}.

Signature of Joint Debtor
213-272-3443

Telephone Number (If not represented by atlomey)

1/11/10
Date

Signature of Attomey

Signature of Attomey for Debtor(s}

Printed Name of Attomey for Debtor(s)

Firm Name

Address

Telephone Number

Date Bar Number

‘In a case in which § 7O07(bX4(D) applies, this signature also constitutes a cerlification that the
attomey has no knowledge after an inquiry that the information in the schedules is incorrect

Signature of a Foreign Representative

| declare under penalty of perjury that the information provided in this petition is tue and correct,
that | am the foreign representative of a debtor in a foreign main proceeding, and that | am
authorized to file this petition.

(Check only one box.)

O {request relief in accordance with chapter 15 of title 11, United States Code, Certified copies
of the documents required by 11 U.S.C. § 1515 are attached,

QO Pursuant to 11 U.S.C. § 1541, | request relief in accordance with the chapter of tile 11
specified in this petition. A certified copy of the order granting recagnition of the foreign main
proceeding |s attached.

x
(Signature of Foreign Representative)

{Printed Name of Foreign Representative)

Date

Signature of Debtor (Corporation/Partnership)

I declare under penalty of perjury that the information provided in this petition is true and correct,
and that I have been authorized to file this patition on behalf of the debtor.

The debtor requests relief in accordance with the chapter of tile 11, United Slates Code,
specified in this petition.

Signature of Authorized Individual

Printed Name of Authorized Individual

Title of Authorized Individual

Date

Signature of Non-Attorney Bankruptcy Petition Preparer

| declare under penalty of perjury that (1) | arm a bankruptcy petition preparer-as defined in 14
U.S.C. § 110; (2) 1 prepared this document for compensation and have provided the debtor with
a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b),
110(h), and 342(b); and, {3} if ndes or guidelines have been promulgated pursuant to 11 U.S.C.
§ 110(h) setting a maximum fee for services chargeable by bankruptcy petition preparers, [ have
given the debtor notice of the maximum amount before preparing any dooument for filing for a
debtor or accepting any fee from the debtor, as required in that section. Official Form 19 is
attached.

Printed Name and title, if any, of Bankruptcy Petiton Preparer

Social Security number (Hf the bankruptcy petition preparer is not an individual, state the Social
Security number of the officer, principal, responsible person or partner of the bankruptcy petition
preparer.) (Required by 11 U.S.0, § 110.)

Address

Date

Signature of bankruptcy petition preparer or officer, principal, responsible person, of partner whose
Social Security number is provided above.

Names and Social Security numbers of all other individuals who prepared or assisted in preparing
this document unless the bankruptcy petition preparer is not an individual.

If more than one person prepared this document, attach additional sheets conforming to the
appropriate official form for each person.

A bankruptcy petition preparer's failure to comply with the provisions of tile 11 and the Federal
Rules of Bankruptcy Procedure may result in fines or imprisonment or both, 17 U.S.C. § 110; 18
U.S.C, § 156,

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Official Form 1- Exhibit D (Rev 12/09) Page 1

UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

2009 USBC, Central District of Callfornia

“tn re: BYUN, JONG, UK | CHAPTER: 11

BYUN, BOK, SOON Debtor(s). | CASE NO.:

EXHIBIT D - INDIVIDUAL DEBTOR’S STATEMENT OF COMPLIANCE WITH
CREDIT COUNSELING REQUIREMENT

Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors’ collection activities.

Every individual debtor must fife this Exhibit D. If a joint petition is filed, each spouse must complete and
file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

@ 1. Within the 180 days before the filing of my bankruptcy case, | received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and | have
a certificate from the agency describing the services provided to me. Aftach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

O 2. Within the 180 days before the filing of my bankruptcy case, | received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but 1 do not
have a certificate from the agency describing the services provided to me. You must file a copy of a certificate
from the agency describing the services provided to you and a copy of any debt repayment plan developed through
the agency no later than 14 days after your bankruptcy case is filed.

oO 3. I certify that ! requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time | made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so | can file my bankruptcy case now.
[Summarize exigent circumstances here.]

If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.
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Official Form 1- Exhibit D (Rev 12/09) Page 2 2009 USBC, Central District of California

Oo 4. | am not required to receive a credit counseling briefing because of: jCheck the applicable
statement] [Must be accompanied by a motion for determination by the court.}

O Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental
deficiency so as to be incapable of realizing and making rational decisions with respect to financial
responsibilities. );

O Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable,
after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
through the Internet.);

O Active military duty in a military combat zone.

Oo 5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h} does not apply in this district.

| certify under penalty of perjury that the information provided above is true and correct.

Signature of Debtor: ea GC W-t

Date: 1/11/10"

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Offictal Form 1- Exhibit D (Rev 12/09) Page 1 2009 USBG, Central District of Callfornia
UNITED STATES BANKRUPTCY COURT

| CENTRAL DISTRICT OF CALIFORNIA

| In r@: BYUN, JONG, UK CHAPTER: 11 :
| BYUN, BOK, SOON Debtor(s). . CASE NO.:

EXHIBIT D - INDIVIDUAL DEBTOR’S STATEMENT OF COMPLIANCE WITH
CREDIT COUNSELING REQUIREMENT

Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors’ collection activities.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and
file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

# 1. Within the 180 days before the filing of my bankruptcy case, | received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and | have
a certificate from the agency describing the services provided to me. Affach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

Oo 2. Within the 180 days before the filing of my bankruptcy case, | received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but | do not
have a certificate from the agency describing the services provided to me. You must file a copy of a certificate
from the agency describing the services provided to you and a copy of any debt repayment plan developed through
the agency no later than 14 days after your bankruptcy case is filed.

O 3. | certify that | requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time | made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so ! can file my bankruptcy case now.
[Summarize exigent circumstances here.]

If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.
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Official Form 1- Exhibit D (Rev 12/09) Page 2 2009 USBC, Central District of Callfornia

Oo 4. [| am not required to receive a credit counseling briefing because of: {Check the applicable
statement] [Must be accompanied by a motion for determination by the court.]

O Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental iliness or mental
deficiency so as to be incapable of realizing and making rational decisions with respect to financial
responsibilities. );

O Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable,
after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or

through the Internet.);
O Active military duty in a military combat zone.

O 5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.

1 certify under penalty of perjury that the information provided above is true and correct.

Signature of Debtor: Ss 6k. S - Cy —

Date: 1/11/10

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Form B4 (Officlal Form 4) - {12/07} 2007 USBC, Central District of California

UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

Inte BYUN, JONG, UK CHAPTER: 11
BYUN, BOK, SOON Debtor(s). | CASE NO.:

Form 4.
LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS

Following is the list of the debtor's creditors holding the 20 largest unsecured claims. The list is prepared in accordance with
Fed. R. Bankr, P, 1007 (dq) for filing in this chapter 11 [or chapter 9] case. The list does not include (1) persons who came within
the definition of “insider” set forth in 11 U.S.C. § 101, or (2) secured creditors unless the value of the collateral is such that the
unsecured deficiency places the creditor among the holders of the 20 largest unsecured claims. If a minor child is one of the
creditors holding the 20 largest unsecured claims, state the child's initials and the name and address of the child's parent or
guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and
Fed. R. Bankr. P. 1007(m).

(1) (2) (3) (4) (5)
Name of creditor and Name, telephone number and complete = Nature of claim {trade debt, —— Indicate if claim is contingent, Amountofclaim [if secured also
complete mailing address mailing address including zip code, of ~=bank loan, gavern-ment unliquidated, disputed or state value of security]
including zip code employee, agent, or department of contract, ete.) subject to setoff

creditor familiar with claim who may be
contacted

SEE ATTACHED

1/11/10

Lives bo) fn

Debtor

Date:

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| 1 2 | 3 | 4 5
Bank of America c/o Frandzel, Robbins, Bloom, et al Disputed $ 4,492,888.00
6500 Wilshire Blvd. 17th Floor, Los Angeles, CA 90048
Sun Construction $ 2,200,000.00
26071 Hinckley Street, Lama Linda, CA 92354
Bay City Trading $ 1,200,000.00
4051 Via Oro, Long Beach, CA 90810
Peopies's Capital and Leasing Corp. Disputed $ 1,118,281.00
255 Bank Street, Attn: Jeffrey A. Kennedy Waterbury, CT
06702
Zimex Logitech, Inc. $ 240,000.00
5400 Orange Avenue, Suite 108, Cypress, CA 90630
US Bank Credit Card $ 21,639.23
P.O. Box 790408 Saint Louis, MO 63179
American Express Credit Card $ 3,000.93
P.O. Box 981535 El Paso TX 79998
Bank of America Credit Card $ 2,001.74
P.O. Box 851001, Dallas, TX 75285
American Express Credit Card $ 512.54
P.O. Box 981535 El Paso TX 79998
American Express Credit Card $ 408,38
P.O. Box 981535 E! Paso TX 79998

Credit Card $ 39.00

US Bank
P.O. Box 790408 Saint Louis, MO 63179

Center Capital Corporation
P.O.Box 330, Hartford, CT 06141

$ 2,991,415.00

GE Capital
300 E. John Carperter Fwy, 4th Floor Attn: Rena Harris

Irving, TX 75062

$ 3,000,000.00

The CIT Group / Equipment Leasing
305 Fellowship Road, Suite 300 Attn: Paul Plunkett

Mount Laurel, NJ 08054

$ 2,194,968.10

Center Bank
3435 Wilshire Bivd., Suite 700 Attn: Lisa K. Pai, Los

Angeles, CA 90010

$ 11,282,710.57

Wilshire State Bank
3832 Wilshire Blvd, Los Angeles, CA 90010

$ 3,753,289.38

$ 32,501,153.87

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STATEMENT OF RELATED CASES
INFORMATION REQUIRED BY LOCAL BANKRUPTCY RULE 1015-2
UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA

1. Apetition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or against
the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any copartnership or
joint venture of which debtor is or formerly was a general or limited partner, or member, or any corporation of which the
debtor is a director, officer, or person in control, as follows: (Set forth the complete number and title of each such of prior
proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom assigned, whether still pending and, if not,
the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A that was filed with any such
prior proceeding(s).)

In re: Central Metal Inc. / Case # 2:10-bk-10642-VZ / Filed on 1/8/2010 / Chapter 11 / Judge Vincent Zurzolo /

Filed in the Central District of California

2, (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act
of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the debtor,
a relative of the general partner, general partner of, or person in contrel of the debtor, partnership in which the debtor is
a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the complete
number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge and court to
whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate, Also, list any real property
included in Schedule A that was filed with any such prior proceeding(s).)

NONE

3. (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer of
the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner of the
debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms or
corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each such prior
proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still pending, and
if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A that was filed with
any such prior proceeding({s).)

NONE

4. (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has been
filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such prior
proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still pending, and
if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A that was filed with
any such prior proceeding(s}.)

NONE

| declare, under penalty of perjury, that the foregoing is true and corr
Executed at HUNTINGTON PARK _ California.

7 ” 7
Dated 1141/10 K- tc. g by nA

Joint Debtor

This form is mandatory by Order of the United States Bankruptcy Court for the Central District of California.

January 2009 F 1 01 5-2, 1
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Verification of Creditor Mailing List - (Rev. 10/05) 2003 USBC, Central District of California

MASTER MAILING LIST
Verification Pursuant to Local Bankruptcy Rule 1007-2(d)

BYUN, JONG, UK and BYUN, BOK, SOON
Name

Address 30 COVERED WAGON LANE, ROLLING HILLS ESTATE, CA 90274

Telephone 213-272-3443

L] Attorney for Debtor(s)
® Debtor in Pro Per

UNITED STATES BANKRUPTCY COURT
| CENTRAL DISTRICT OF CALIFORNIA

List all names including trade names used by Debtor(s) within last | Case No.:

8 years): —_.. Ce _

BYUN, JONG, UK Chapter: 11
| BYUN, BOK, SOON

VERIFICATION OF CREDITOR MAILING LIST

The above named debtor(s), or debtor's attorney if applicable, do hereby certify under penalty of perjury that the attached
Master Mailing List of creditors, consisting of 4 sheet(s)is complete, correct, and consistent with the debtor's schedules

pursuant to Local Rule 1007-2(d) and I/we assume all responsibility for errors and o

Date: 111/10 OLE, Ve / a ee

Attorney (if applicable} Joint Debtor
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Exhibit |

Jong Uk Byun
30 Covered Wagon Lane
Rolling Hills Estates, CA 90274

Bok Soon Byun
30 Covered Wagon Lane
Rolling Hills Estates, CA 90274

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Exhibit 2

Bank of America

Mail Stop, CA6-921-01-33
450 American Street

Simi Valley, CA 93065

Bank of America Home Loans
P.O. Box 5170
Simi Valley, CA 93062

Countrywide Home Loans
P.O, Box 5170
Simi Valley, CA 93062

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Exhibit 2

Sun Construction
26071 Hinckley Street
Loma Linda, CA 92354

Bay City Trading
4051 Via Oro
Long Beach, CA 90810

Zimex Logitech, Inc.
5400 Orange Avenue, Suite 108
Cypress, CA 90630

US Bank
P.O. Box 790408
Saint Louis, MO, 63179

American Express
P.O. Box 981535
EI Paso, TX, 79998

Bank of America
P.O. Box 951001
Dallas, TX, 75285

Bank of America Leasing & Capital, LLC
305 West Big River Road, Suite 400
Troy, MI 48084

SBA U.S. Smal! Business Administration
Santa Ana District Office

200 West Santa Ana Boulevard — Suite 700
Santa Ana, CA 92701

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Exhibit 2

Bank of America, N. A.

Government Lending (CA9-702-05-71)
101 S, Marengo Avenue, 5" Floor
Pasadena, CA 91101

Banc of America Leasing &Capital LLC
2059 Northlake Parkway, 4" Floor
Tucker, GA 30084

KEB LA Financial Corp.
777 S. Figueroa Street, Suite 3000
Los Angeles, CA 90017

Center Bank

San Pedro Office

1059 S, San Pedro Street
Los Angeles, CA 90015

Wilshire State Bank
Mid-Wilshire Office
3200 Wilshire Blvd.
Los Angeles, CA 90010

General Electric Capital Corporation, a Delaware corporation
3 Capital Drive

Mail Station 1-3

Eden Prairie, MN 55344

Citi Capital Commercial Leasing Corporation
2600 Michelson Drive, Suite 1100
Irvine, CA 92612

Peoples Capital and Leasing Corp.
255 Bank Street

Attn: Jeffery A. Kennedy
Waterbury, CT 06702

